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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

  UNITED STATES OF AMERICA                  )
                                            )
                v.                          )      No. 2:02 CR 44
                                            )
  TERENCE DILWORTH                          )

                                  OPINION AND ORDER

         Defendant Terence Dilworth has filed a motion for a reduced sentence under 18

  U.S.C. § 3582(c)(2). (DE # 689.) Mr. Dilworth was found guilty of conspiracy to

  distribute crack cocaine in violation of 21 U.S.C. § 846 and distribution of crack cocaine

  in violation of 21 U.S.C. § 841(a)(1). At the time of Mr. Dilworth’s original sentencing,

  his guideline offense level was found to be 40, and criminal history category of III,

  which corresponded to a guideline range of 360 months to life imprisonment. The court

  sentenced Mr. Dilworth to a term of 360 months imprisonment.

         The original presentence report (“PSR”) used when Mr. Dilworth was sentenced

  concluded that “the amount of drugs attributed to the defendant in this case far exceeds

  1.5 kilograms of crack cocaine.” (PSR at 10; DE # 676-1 at 11.) At the time of his

  sentencing, any consideration as to how greatly in excess of 1.5 kilograms he bore

  responsibility was unnecessary, because the sentencing guidelines set a quantity of 1.5

  kilograms of crack cocaine as the threshold for the maximum base offense level of 38.

  See U.S. SENTENCING GUIDELINES MANUAL § 2D1.1(c)(1) (2003). Mr. Dilworth’s adjusted

  offense level was 40 as the result of a two-level increase for possession of a dangerous

  weapon.
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           Mr. Dilworth moved for a reduced sentence in 2009 after the United States

  Sentencing Commission promulgated Amendment 706, which, generally speaking,

  lowered the sentencing range for offenses involving crack by two levels. (DE # 580.) As

  the result of Amendment 706, a quantity of 4.5 kilograms of crack cocaine became the

  threshold for the maximum base offense level. The court denied that motion after

  determining that Mr. Dilworth was responsible for in excess of 4.5 kilograms of crack,

  and therefore, he was not eligible for a sentence reduction. (DE # 603.) Mr. Dilworth

  appealed, and the United States Court of Appeals for the Seventh Circuit affirmed this

  court’s decision. (DE # 666-1); see also United States v. Davis, 682 F.3d 596, 618-19 (7th Cir.

  2012).

           Mr. Dilworth has now moved for a sentence reduction under Amendment 750.1

  (DE # 689.) Amendment 750 raised the threshold for the maximum base offense level of

  38 to 8.4 kilograms of cocaine base. U.S. SENTENCING GUIDELINES MANUAL § 2D1.1(c)(1)

  (2011). The court is authorized to reduce a sentence only when a defendant’s sentence is

  “based on a sentencing range that has subsequently been lowered by the Sentencing

  Commission” and the reduction is “consistent with applicable policy statements issued

  by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2). The relevant policy statement

  here provides: “A reduction in the defendant’s term of imprisonment is not consistent

  with this policy statement and therefore is not authorized under 18 U.S.C. 3582(c)(2)


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           The court requested an addendum to the PSR from the United States Probation
  Office. (DE # 675.) The United States Probation Office concluded that Mr. Dilworth is
  not eligible for a reduction. (DE # 676.)

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  if . . . [a]n amendment listed in subsection (c) does not have the effect of lowering the

  defendant’s applicable guideline range.” U.S. SENTENCING GUIDELINES MANUAL

  § 1B1.10(a)(2)(B) (2012).

         In his motion for a reduced sentence under Amendment 750, Mr. Dilworth

  argues that because the court has never made a finding that he is responsible for 8.4 or

  more kilograms of crack, his base offense level should be 36.2 (DE # 689 at 3.) Mr.

  Dilworth contends that with his base offense level of 36, and adding the two-level

  enhancement for the firearms possession, his total offense level should be 38. (Id.) A

  base offense level of 38 combined with a criminal history category of III results in a

  guideline range of 292-365 months. Thus, Mr. Dilworth argues that the court should

  reduce his sentence to 292 months. (Id.)

         As the government points out in its response, however, the court has never

  determined that Mr. Dilworth is responsible for exactly 4.5 kilograms of crack.

  (DE # 692 at 2.) Instead, in denying Mr. Dilworth’s motion for a reduced sentence under

  Amendment 706, the court stated that it had “no trouble concluding that Mr. Dilworth

  is responsible for in excess of 4.5 kilograms of crack cocaine, and not eligible for a

  sentence reduction.” (DE # 603 at 4.) Additionally, the Seventh Circuit, in affirming the

  court’s order denying Mr. Dilworth’s previous motion for a reduced sentence, did not


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          As noted above, to reach the maximum base offense level of 38, a defendant
  must be found responsible for 8.4 kilograms or more of cocaine base. U.S. SENTENCING
  GUIDELINES MANUAL § 2D1.1(c)(1) (2011). For a base offense level of 36, a defendant
  must be found responsible for at least 2.8 kilograms but less than 8.4 kilograms of
  cocaine base. Id.

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  conclude that Mr. Dilworth was responsible for exactly 4.5 kilograms of crack. See

  (DE # 666-1); see also Davis, 682 F.3d at 618 (“[T]here was more than ample evidence in

  the PSR to support the district court’s finding that it was foreseeable to him that he was

  participating in a conspiracy that was distributing more than 4.5 kilograms of crack

  cocaine.”).

         The issue for purposes of determining Mr. Dilworth’s current motion, therefore,

  becomes whether Mr. Dilworth is responsible for 8.4 kilograms or more of crack

  cocaine. That amount, as noted above, is now the threshold for the maximum base

  offense level of 38. U.S. SENTENCING GUIDELINES MANUAL § 2D1.1(c)(1) (2011). The

  government argues that Mr. Dilworth is responsible for over 8.4 kilograms of crack, and

  therefore argues that Mr. Dilworth is not eligible for a reduction under Amendment

  750. (DE # 692 at 2-4.) In his motion, Mr. Dilworth does not directly address the issue,

  but instead appears to assume that because the court has never made an explicit finding

  that Mr. Dilworth was responsible for 8.4 kilograms or more of crack, he must be

  responsible for less than that amount. (See DE # 689 at 3.)

         In its order denying Mr. Dilworth’s motion for a reduced sentence under

  Amendment 706, the court discussed the conspiracy that Mr. Dilworth was a part of

  and the extent of Mr. Dilworth’s involvement in that conspiracy:

         Although the court stated at sentencing that Mr. Dilworth was responsible
         for a quantity exceeding “at least” 1.5 kilograms, it prefaced that conclusion
         with the remark that “[t]here’s no doubt . . . that this defendant is responsible
         for many more kilos of crack cocaine than the 1.5.” (Tr. of October 6, 2003,
         sentencing hearing at 111) (emphasis added.) In addition, the court stated
         that he was a “bit more than a street dealer. He’s an associate of Bobby

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         Suggs,” who was the leader of the conspiracy. As shown by those remarks,
         and as fully supported by all the evidence of record in this case with respect
         to Mr. Dilworth, the court has no trouble concluding that Mr. Dilworth is
         responsible for in excess of 4.5 kilograms of crack cocaine, and not eligible for
         a sentence reduction.

         Briefly, the conspiracy of which Mr. Dilworth was a member sold a quantity
         of drugs which “eclipsed 16.9 kilograms of crack cocaine.” Hall, 600 F.3d at
         876. The court found that Mr. Dilworth was a member of the conspiracy for
         at least five years, from 1995 through 2000, and probably for longer than that.
         (Tr. of October 6, 2003, sentencing hearing at 110-11.) As outlined in the
         original PSR, during one seven-month period in 2000, street-level dealers for
         the conspiracy were observed selling quantities of crack cocaine at a location
         known as “the hill” estimated to total approximately 3.675 kilograms. An
         informant observed Mr. Dilworth participating in these sales, and controlled
         buys were made from him on July 17 and July 20, 2000. Thus, in just seven
         months out of Mr. Dilworth’s five-year membership, he would have been
         aware of distribution of a quantity nearing 4.5 kilograms.

         In addition, during the years that Mr. Dilworth was a member, the
         conspiracy’s leader, Bobby Suggs, was receiving kilogram quantities of
         powder cocaine to convert into the crack form, and using his two top
         lieutenants, his brother Seantai and Aaron Davis, to distribute this product
         to the street-level dealers. There was evidence that Mr. Dilworth occupied a
         higher position than the other street-level dealers, and on occasions aided in
         that distribution. There was evidence that he sometimes sold crack directly
         from Aaron Davis’s house, and on one occasion he sold Lamont Evans nine
         ounces (255 grams) from that location. He was observed obtaining crack
         directly from Bobby Suggs, and was one of the few people known to be
         supplied “weight” quantities by Suggs. He was known to be paid respect by
         the other street-level dealers on the hill, and would settle arguments that
         arose among them.

         Based on the evidence of record, it is clear that it was foreseeable to Mr.
         Dilworth that he was participating in a conspiracy that was distributing far
         in excess of 4.5 kilograms of crack cocaine.

  (DE # 603 at 3-5.)

         The Seventh Circuit also outlined Mr. Dilworth’s involvement in the conspiracy:



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         Dilworth’s PSR emphasized that he was more than a street-level dealer
         because he received large quantities of crack cocaine directly from Bobby to
         distribute to street-level dealers on “the Hill.” The PSR also noted that
         Dilworth had been responsible for bringing customers to “the Hill” in the
         early 1990s, and that Dilworth himself had been selling drugs on “the Hill”
         since at least 1993 or 1994. Most importantly, Dilworth and a group of four
         or five other CCA street gang members were observed selling 3.5 grams of
         crack cocaine per day on “the Hill” over a seven-month period in 2000. That
         is approximately 3.675 kilograms of crack cocaine in just seven months.
         Taking into account that Dilworth was a member of the conspiracy for a
         number of years, had been selling on “the Hill” since 1993 or 1994, and that
         he was more than a street-level dealer, there was more than ample evidence
         in the PSR to support the district court’s finding that it was foreseeable to
         him that he was participating in a conspiracy that was distributing more than
         4.5 kilograms of crack cocaine.

  See (DE # 666-1); see also Davis, 682 F.3d at 618.

         The PSR, which the court adopted at Mr. Dilworth’s sentencing hearing (Terence

  Dilworth Sentencing Tr. 112-16, Oct. 6, 2003), also outlined the extent of Mr. Dilworth’s

  involvement in the conspiracy. Specifically, the PSR stated:

         23. Terraun Price and Terence Dilworth were both longtime members of this
         conspiracy. Dilworth was responsible for bringing crack users (or customers)
         to “the Hill” in the early 1990's. . . . Price and Dilworth both received large
         quantities of crack cocaine directly from Suggs to distribute to street level
         dealers. Kenneth Lewis also witnessed Bobby Suggs sell crack cocaine to
         Terence Dilworth.

         25. According to the investigation conducted by the FBI, when they asked
         about Terence Dilworth, a source advised that Dilworth was not one of the
         street-level narcotics dealers on “The Hill,”Dilworth was more of a leader,
         and other people on “The Hill” showed him respect. The source observed
         Dilworth carrying a gun in his vehicle at times and recalled only seeing
         Dilworth on “The Hill” when street-level narcotics dealers had arguments
         and needed something settled.

         27. Marven Childress also indicated that Terence Dilworth was one of the
         individuals selling on “The Hill” when he arrived in 1997. He stated he later
         found out that Terence had been selling from either 1993 or 1994.

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         30. Calvin Key admitted that he had purchased marijuana from Terence
         Dilworth. He also stated to agents that Dilworth was “blessed” (was initiated
         into the gang, usually by a beating from other gang members) member of the
         Vice Lords. Several witnesses indicated that Bobby Suggs supplied on a few
         people, including Dilworth with “weight” crack cocaine. Dilworth would be
         present when Suggs would cook the cocaine into crack.

         36. The government asserts that the defendant was a member of the CCA
         from at least 1994. That the quantities of the drugs associated with the
         conspiracy should be attributed to the defendant. [sic] The total amount of
         drugs attributed to the defendant in this case far exceeds 1.5 kilograms of
         crack.

  (PSR at 8-10; DE # 676-1 at 9-11.)

         In ruling on a Section 3582(c)(2) motion, a court may not rely on new factual

  findings that are inconsistent with the original findings made at sentencing. United

  States v. Woods, 581 F.3d 531, 538-39 (7th Cir. 2009). However, “nothing prevents the

  court from making new findings that are supported by the record and not inconsistent

  with the findings made in the original sentencing determination.” United States v. Hall,

  600 F.3d 872, 876 (7th Cir. 2010); see also Davis, 682 F.3d at 618 (“In ruling upon

  [defendant’s] § 3582(c)(2) motion, it was entirely appropriate for the district [court] to

  make new findings of fact as to the quantity of drugs attributable to [defendant], so long

  as those findings are consistent with the findings from the original sentencing

  hearing.”); United States v. Jackson, 365 F. App’x 690, 691 (7th Cir. 2010) (“A district court

  can make new findings when addressing a motion to reduce a sentence when there is

  ample evidence on the record to support the new finding and that finding does not

  conflict with the district court’s previous conclusion.”).

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         As this court (DE # 603 at 4) and the Seventh Circuit have recognized, the

  conspiracy that Mr. Dilworth was involved in was extremely large, as the “drug

  quantities sold in furtherance of the conspiracy . . . eclipsed 16.9 kilograms of crack

  cocaine.” Hall, 600 F.3d at 876; see also Davis, 682 F.3d at 617 (“[W]e have previously

  concluded that the CCA street gang was responsible for distributing at least 16

  kilograms of crack cocaine throughout the course of the conspiracy’s life.”). And, as

  discussed above, Mr. Dilworth was a substantial player within this conspiracy. As the

  court noted in its order denying Mr. Dilworth’s previous § 3582(c)(2) motion:

         [D]uring one seven-month period in 2000, street-level dealers for the
         conspiracy were observed selling quantities of crack cocaine at a location
         known as “the hill” estimated to total approximately 3.675 kilograms. An
         informant observed Mr. Dilworth participating in these sales, and controlled
         buys were made from him on July 17 and July 20, 2000. Thus, in just seven
         months out of Mr. Dilworth’s five-year membership, he would have been
         aware of distribution of a quantity nearing 4.5 kilograms.

  (DE # 603 at 4.)

         If conspirators distributed the same amount of crack during the five years that

  Mr. Dilworth was a member of the conspiracy as they did during the seven-month

  period in 2000, they would have distributed approximately 31.5 kilograms of crack.

  Even assuming that the conspirators distributed significantly less than that amount, the

  amount of crack reasonably foreseeable to Mr. Dilworth would still be well over 8.4

  kilograms. Because, however, Mr. Dilworth was a substantial player in this very large

  conspiracy for at least five years, and, considering the record as a whole, the court

  concludes, by a preponderance of the evidence, that it was reasonably foreseeable to


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  Mr. Dilworth that the distribution of 16.9 kilograms3 of crack occurred, and he is

  therefore responsible for that amount.4

         Under the current guidelines, the 16.9 kilograms of crack that defendant is

  responsible for results in a base offense level of 38, and a total offense level of 40

  (including the two-level increase for the weapons violation). U.S. SENTENCING

  GUIDELINES MANUAL § 2D1.1(c)(1); see also PSR Addendum at 2-3 (DE # 676). A total

  offense level of 40 combined with a criminal history of III results in a guideline range of

  360 months to life imprisonment. Thus, defendant’s applicable guideline range has not

  changed. His guideline range under Amendment 750 remains, as it was under

  Amendment 706, 360 months to life imprisonment. Because defendant’s guideline range

  has not been lowered, he does not qualify for a reduction. United States v. Taylor, 627

  F.3d 674, 676 (7th Cir. 2010). Defendant’s motion for a reduced sentence (DE # 689) is

  therefore DENIED.

         Mr. Dilworth also filed a pro se motion to reduce his sentence under § 3582(c)(2)

  (DE # 671.) In that motion, Mr. Dilworth argues that he is eligible for a reduced



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           In the addendum to the PSR, the United States Probation Office concluded that
  Mr. Dilworth can be held responsible for the distribution of 16.9 kilograms of crack.
  (DE # 676 at 2 (“In this case, the defendant can be held responsible for the distribution
  of at least 16.9 kilograms of crack cocaine . . . .”).)
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          This finding is not inconsistent with either the court’s original finding at
  sentencing that Mr. Dilworth was responsible for “at least 1.5 kilograms of crack
  cocaine” (Terence Dilworth Sentencing Tr. 111, Oct. 6, 2003) or the court’s finding in its
  order denying Mr. Dilworth’s previous § 3582(c)(2) motion that Mr. Dilworth was
  responsible for “in excess of 4.5 kilograms of crack cocaine” (DE # 603 at 4).

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 sentence because the court’s previous finding was only that he was responsible for in

 excess of 4.5 kilograms of crack. (See id.) The court rejected this argument above, and

 therefore, that motion is also DENIED.



                                          SO ORDERED.

       Date: October 4, 2013

                                           s/ James T. Moody
                                          JUDGE JAMES T. MOODY
                                          UNITED STATES DISTRICT COURT
